 In the United States Court of Federal Claims
                                        No. 21-1354 C
                                     Filed: May 17, 2021

* * * * * * * * * * * * * * * * ** *
                                    *
CW GOVERNMENT TRAVEL, INC.          *
A/K/A CWTSATOTRAVEL                 *
                                    *
                  Plaintiff,        *
                                    *
      v.                            *
                                    *
THE UNITED STATES,                  *
                                    *
                  Defendant.        *
                                    *
 * * * * * * * * * * * * * * * * ** *

                                  SCHEDULING ORDER

       On May 13, 2021, Plaintiff filed a Motion for a Temporary Restraining Order and
Preliminary Injunction. ECF No. 3 (“TRO/PI Motion”). On May 17, 2021, the Court held a
telephonic initial status conference, during which the parties consented to the following
schedule:

       •   May 24, 2021: Deadline to file the administrative record, and deadline for any
           motions to intervene.

       •   June 2, 2021: Deadline for the government’s response to Plaintiff’s TRO/PI Motion.

       •   June 9, 2021: Deadline for Plaintiff’s reply in support of its TRO/PI Motion.

       •   June 11, 2021 at 10:00 a.m. EDT: Oral argument on the TRO/PI Motion. The
           Court will provide further information on courtroom location.

       IT IS SO ORDERED.



                                                   s/ Zachary N. Somers
                                                   Zachary N. Somers
                                                   Judge
